          Case 24-15203-MBK                     Doc 3-1 Filed 05/23/24 Entered 05/23/24 07:25:09                                           Desc
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 Information to identify the case:
 Debtor
                Coastal Construction Group, LLC                                             EIN:   45−1843710
                Name

 United States Bankruptcy Court     District of New Jersey                                  Date case filed for chapter:       11      5/22/24

 Case number:       24−15203−MBK

Official Form 309F1 (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the party's correct address, resend the
returned notice, and notify this office of the party's change of address. Failure to provide all parties with a copy of this notice may adversely
affect the debtor as provided by the Bankruptcy Code.



  1. Debtor's full name                       Coastal Construction Group, LLC


  2. All other names used in the
     last 8 years


  3. Address                                  235 Hickory Lane, Unit B
                                              Bayville, NJ 08721

                                              Daniel E. Straffi                                          Contact phone 732−341−3800
  4. Debtor's attorney                        Straffi & Straffi, LLC
      Name and address                        670 Commons Way                                            Email: bkclient@straffilaw.com
                                              Toms River, NJ 08755

  5. Bankruptcy clerk's office                                                                            Hours open: 8:30 AM − 4:00 p.m.,
      Documents in this case may be filed     402 East State Street                                       Monday − Friday (except holidays)
      at this address.                        Trenton, NJ 08608
      You may inspect all records filed in    Additional information may be available at the              Contact phone 609−858−9333
      this case at this office or online at   Court's Web Site:
      https://pacer.uscourts.gov. (800)       www.njb.uscourts.gov.
      676−6856                                                                                            Date: 5/23/24



                                                                                                           For more information, see page 2 >




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Debtor Coastal Construction Group, LLC                                                                                 Case number 24−15203−MBK


   6. Meeting of creditors                                                                              Location:
      The debtor's representative June 20, 2024 at 02:00 PM
      must attend the meeting to                                                                        Section 341 Meeting will be
      be questioned under oath. The meeting may be continued or adjourned to a later                    conducted by telephone. Please
      Creditors may attend, but   date. If so, the date will be on the court docket.
                                                                                                        consult the docket or contact the
      are not required to do so.                                                                        trustee appointed to the case for
                                                                                                        access or call−in information.


  7. Proof of claim deadline               Deadline for filing proof of claim: 7/31/24 For a governmental unit: 11/18/24

                                           A proof of claim is a signed statement describing a creditor's claim. A proof of claim form ("Official Form
                                           410") may be obtained at www.uscourts.gov or any bankruptcy clerk's office. You may also contact the
                                           Clerk's Office where this case is pending to request that a Proof of Claim form be mailed to you. The Clerk's
                                           Office telephone number is included on the front of this Notice. Also, Claims can be filed electronically
                                           through the court's website at: http://www.njb.uscourts.gov under File An Electronic Claim.

                                           Your claim will be allowed in the amount scheduled unless:

                                                    • your claim is designated as disputed, contingent, or unliquidated;
                                                    • you file a proof of claim in a different amount; or
                                                    • you receive another notice.
                                           If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                           must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                           You may file a proof of claim even if your claim is scheduled.

                                           You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.

                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                           proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                           explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                           rights, including the right to a jury trial.


  8. Exception to discharge                 If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                               proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline. Deadline for filing the complaint:


                                            If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign               extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                            have any questions about your rights in this case.


                                           Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                           court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                           and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                           hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                           trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                           business.


                                           Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                           debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
                                           debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                           discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
  11. Discharge of debts                   paying the filing fee in the bankruptcy clerk's office by the deadline.

                                           WRITING A LETTER TO THE COURT OR THE JUDGE IS NOT A SUBSTITUTE FOR FILING AN
                                           ADVERSARY COMPLAINT OBJECTING TO DISCHARGE OR DISCHARGEABILITY. IN NO
                                           CIRCUMSTANCE WILL WRITING A LETTER PROTECT YOUR RIGHTS.




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